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                          UNITED STATES COURT OF APPEALS
                             FOR THE ELEVENTH CIRCUIT
                            ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                          56 Forsyth Street, N.W.
                                          Atlanta, Georgia 30303

David J. Smith                                                                  For rules and forms visit
Clerk of Court                                                                  www.ca11.uscourts.gov


                                        August 14, 2020

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Appeal Number: 20-13024-G
Case Style: SisterSong Women of Color Repr, et al v. Governor of the State of GA, et al
District Court Docket No: 1:19-cv-02973-SCJ

This Court requires all counsel to file documents electronically using the Electronic Case
Files ("ECF") system, unless exempted for good cause. Non-incarcerated pro se parties
are permitted to use the ECF system by registering for an account at www.pacer.gov.
Information and training materials related to electronic filing, are available at
www.ca11.uscourts.gov.

The referenced case has been docketed in this court. Please use the appellate docket number
noted above when making inquiries.
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Eleventh Circuit Rule 31-1 requires that APPELLANT'S BRIEF BE SERVED AND FILED
ON OR BEFORE September 21, 2020. APPELLANT'S APPENDIX MUST BE SERVED
AND FILED NO LATER THAN 7 DAYS AFTER FILING OF THE APPELLANT'S BRIEF.
INCARCERATED PRO SE PARTIES ARE NOT REQUIRED TO FILE AN APPENDIX.

This is the only notice you will receive concerning the due date for filing briefs and appendices.
See Fed.R.App.P. 28, 30, 31, 32, the corresponding circuit rules, General Order 39 and the
Guide to Electronic Filing for further information. Pro se parties who are incarcerated are not
required to file an appendix. (In cross-appeals pursuant to Fed.R.App.P. 28.1(b), the party who
first files a notice of appeal is the appellant unless the parties otherwise agree.)

Every motion, petition, brief, answer, response and reply filed must contain a Certificate of
Interested Persons and Corporate Disclosure Statement (CIP). Appellants/Petitioners must file a
CIP within 14 days after the date the case or appeal is docketed in this court;
Appellees/Respondents/Intervenors/Other Parties must file a CIP within 28 days after the case
or appeal is docketed in this court, regardless of whether appellants/petitioners have filed a CIP.
See FRAP 26.1 and 11th Cir. R. 26.1-1.

On the same day a party or amicus curiae first files its paper or e-filed CIP, that filer must also
complete the court's web-based CIP at the Web-Based CIP link on the court's website. Pro se
filers (except attorneys appearing in particular cases as pro se parties) are not required or
authorized to complete the web-based CIP.

Attorneys who wish to participate in this appeal must be admitted to the bar of this Court,
admitted for this particular proceeding pursuant to 11th Cir. R. 46-3, or admitted pro hac vice
pursuant to 11th Cir. R. 46-4. In addition, all attorneys (except court-appointed counsel) who
wish to participate in this appeal must file an Appearance of Counsel form within 14 days. The
Application for Admission to the Bar and Appearance of Counsel Form are available at
www.ca11.uscourts.gov. The clerk generally may not process filings from an attorney until that
attorney files an appearance form. See 11th Cir. R. 46-6(b).

11th Cir. R. 33-1(a) requires appellant to file a Civil Appeal Statement in most civil appeals.
You must file a completed Civil Appeal Statement, with service on all other parties, within 14
days from the date of this letter. Civil Appeal Statement forms are available on the Internet at
www.ca11.uscourts.gov, and as provided by 11th Cir. R. 33-1(a).

MEDIATION. If a Civil Appeal Statement is required to be filed, your appeal and all related
matters will be considered for mediation by the Kinnard Mediation Center. The mediation
services are free and the mediation process is confidential. You may confidentially request
mediation by calling the Kinnard Mediation Center at 404-335-6260 (Atlanta) or 305-714-1900
(Miami). See 11th Cir. R. 33-1.

Attorneys must file briefs electronically using the ECF system. Use of ECF does not modify the
requirements of the circuit rules that counsel must also provide seven (7) paper copies of a brief
to the court, nor does it modify the requirements of the circuit rules for the filing of appendices
in a particular case.
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Sincerely,

DAVID J. SMITH, Clerk of Court

Reply to: Joseph Caruso, GG/la
Phone #: 404-335-6177

                                                   DKT-7CIV Civil Early Briefing
